Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2092 Filed 07/28/14 Page 1 of 26

EXHIBIT 5
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2093 Filed 07/28/14 Page 2 of 26

.

POLICY CERTIFICATION

The undersigned, Jaimey Bly, being the Manager of Life Policy
Administration of Nationwide Life Insurance Company located in
Columbus, Ohio, hereby states that the attached portions of policy
number 1L034804300 insuring the life of Gary H. lLupiloff,

constitute a true and accurate copy of Vd policy. (54
}

4faimey Bly

STATE OF OHIO . )

) S.S.
COUNTY OF FRANKLIN )
1s Wh aay off! tej
On this day of 2011, before me, a Notary Public in and for the
State of Ohio, appeared JAM Bn} , known to be the person

described herein, and who executed the foregoing instrument and
she acknowledged that she voluntarily executed the same.

Notary Public

My Commission Expires: yee coll

ein,

SRS
AS MARGARET MODLICH

Eee *: Notary Public, State of Ohio

Cae ROS My Commission Expires 08-22-2011
i CaaS
%, os

bia PEs
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2094 Filed 07/28/14 Page 3 of 26

"GUARANTEED TERM: LIFE INSURANCE”
‘TO AGE95 POLICY ot

PLEASE READ YOUR POLICY. CAREFULLY
This policy is a legal contract botween.you and us:

MEMO TO THE POLICY OWNER:
“sPhanke you for relying on Nationwide Life Insurance Company:

The protection this pellcy provides is. explained onthe follawing pages. To help us serve you better, please let us:
Know if you change your. name or address; or wish to change your Beneffcizry.

We agree to pay the Death Benefit tthe Beneficiary upon receiving proof thatthe Insured has died while this policy
isin force. .

10 DAY RIGHT TO EXAMINE: . :
To bo certain that you are satisfied-with this policy, you. have a:10-day “free look.” Within: 10 daya after you. reccive--

the policy, you may rehurn it to-ourHome.Office or.to.the agent.who delivered it.. We-will then:vold the policy as if it
had never been in force and sefind.all premiums paid.”

Ifyou Have any. questions about. your policy-or need’additfonal-insurance secvice, contact your-agent-or wrile to.ous:
Home Ofitece:: When: you write:to us; please: inchide the policy number, the Insored’s full name; and your-current: -

address, - .
‘Signed: al the- Home Office of the-Nationwide Life Insurance Company, One Nationwide. Plaza, Columbus, Ohio.on
the Policy Date shown on the policy dats pago:.

Renewable once 2 yorr until age 95.

Convertible snytime prior to the end of the conversion period, as steted on the policy daia pages:
Premiums payable during lifetime of Insured prior to the end of the term of the policy.
Premims are guaranteed si suc...
Noa-Participating - No Dividends.

Less ce One Nati P&C Ono 215 2 DUP u CAT

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2095 Filed 07/28/14 Page 4 of 26

CONTENTS.

PROVISION PAGE

Age or Sex
Conversion
Death Benefit
Definitions
Entire Contract
General Policy Provisions.
Grace Period
Incontestability.
Owner and Beneficiary Provisions —esssreeceneecssnenees
Policy Data Page.
Policy Settlement
Psemhua Changes.
Premium Payment Provisions
Reinstatement. 5
Suicide 4
Tables for Settlement Optlons mrmssemmmeeerr:seomom 8

> WwW Ww D> Ww & UW &

>

Life 4608 Page 1

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2096 Filed 07/28/14 Page 5 of 26

“> 002246 $0002

VOR SSS TEST

POLICY DATA PAGE
Owner GARY H LUPILOFF
Insuvad GARY H LUPILOFF
PolicyNumber 1024804300 Policy Date November 28, 2003
Age Oltnsured 46 Initial Face Amount «=: $500,000
SexOfinaured Malp Standard Premium Class
Rate Type Non-Tobacco
An intial premium on the premium basis a3 shown In the appication }s dive as of the policy date,
Total initis) premiums fox the avalable frequencies of payment are:
Annual Sem Annual Quarterly Monthly

$1,030.00 $535.60 $272.95 $91.87
Pramiums eye payable to the policy anniversary in the yaar shown In the schedufe below of unill priot death of
the Insured.
To datermine the quararteed maximum modal pramhun for _ Payment Moda Facter Loading
any given aga, use the annual premium shown ond then: Semi-annual x .5200 + .00
1. mullpty dy the fector shown at the night: and Quanterly x -2650 + .00
2. add tha loading PAP x -0890 + .00

Schadule of Benofita and Annual Promimms
Form , Annual Payable
Number Benefits Premium To Year
4608 10 YEAR LEVEL GUARANTEED TERM LIFE INSURANCE TOAGE 983 = $1, 030.00 2013
TOTAL INITIAL ANNUAL PREMIUM $1,030.06

Lia 4608 Paget XLDPOTA

DUPLICATE |

0303
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2097 Filed 07/28/14 Page 6 of 26

r NODA THNNT
Insured Neme GARY HN LUPILOFF
Policy Nymber 1094804300
_ PollcyQnis = November 28, 2003
Age Ol insured 46
Sex of fneund Mes
10 Year Lave! Guaranteed Term Lifs insurance lo Age 98 - Base Policy Face Amount ~ $500,000
NOTE: Premium is dup et the beginning of each premium payment period {Je., Annual. SembAnnual, Quanery,
Monthly). The premium for the annusi premium payment period Js disclosed on ihis page.
NOTE: Conversion may bs et any tine during the Hirst 5 years, subject to the ‘CONVERSION’ provision,
POLICY QUARANTEIZD POLICY QUARANTEED
YEAR Ags PREM Yen aon . PREMIUM
1 46 $13,030.00 28 71 $52,915.00
°2 47 $1,039.00 27 72 $68,493.00
3 48 " $1,099.00 28 wa 568,196.00
4 49 $1,030.00 29 74 $72,495.00
5 50 $1,030.00 30 76 580,385.00
8 $1 $1,039.00 an 78 $88,675.00
7 §2 $t,030 00 a2 7 " $97,365.00
8 33 $1,030.00 33 78 $108,480.00
3 84 $1,030.00 24 78 $115,310.00
10 && . $1,030.00 35 80 $127,170.00
Ww 56 311,825.00 . 36 81 $139,335.00
. 12 5? 342,500.00 ar oz $103,090.00
13 58 $14,288.00 38 83 $168,280.00
, 4 82 $16,710.00 49 a4 ° $184,685.00
18 60 $17,320.00 40 88 $201,930.00
16 at $14,110,00 41 88 $219,760.00
17 62 $21,175.00 42 87 $237,936.00
18 83 $23,518.00 43 38 $266,315.00
. 19 64 $26,130.00 44 89 $276,225.00
20 65 $28,955.00 46 30 $294,840.00
23 58 $32,030.00 48 91 $318, 838,00
2 oT $38,330.00 47 92 $338,785.00
2a 6B $38,938.00 48 93 * $365, 9345.00
24 6B $42,890.00 48 94 $402,410.00
25 70 $47,760.06
Ule see Page? XLVPOSA

0304
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2098 Filed 07/28/14 Page 7 of 26

CUE TS Ue TT

DEFINITIONS

ATTAINED AGE: The Insured’s Atained Age is equal to the Insured’s age at issue, shown on the policy
data page, plus the number of compicted Policy Years. .

BENEFICIARY: The Beneficiary is the person to whom the Death Benefits are paid when the Insured dies.
The Beneficiary is named in the application, unless changed.

COMPANY: The Company is the Natianwide Life Insurance Company, “We," “ovr,” and "us" refer te the
Company.

CONTINGENT BENEFICIARY: The Contingent Beneficiary will become the Beneficiary if the named
Bennficiary dies prior to the date of the death of the Insured.

CONTINGENT OWNER: The Contingent Owner will become the Owner if the named Owner dies prior to
the date of death of the Insured.

DEATH BENEFIT: The Death Benefit means the amonnt of monoy payab}e to the Beneficiary if the Insured
dies while this policy is in force.

HOME OFFICE: The Home Office of the Company is at One Nationwide Piaza, Cohrmbus, Ohio.
INSURED: The Insured is tho person whose fifa is eovered by this insusenco policy and named in the
application.

OWNER: The Owner is as stated in the application unless latcr changed and endorsed on this policy, "You"
or "your? refer to.the Owner of this policy.

POLICY ANNIVERSARY: A Policy Anniversasy is an anniversary of the Policy Date, shown on the policy
data page,

POLICY DATE: The-Policy Date is the dais the policy provisions take effect. Jt is shown on the policy dats
page. Policy Years and policy months are mearured from the Policy Date.

POLICY YEAR: The Policy Year starts on an anniversary of the Policy Date, and cnds on the day prior to
the next anniversory of the Policy Date. :

GENERAL POLICY PROVISIONS

ENTIRE CONTRACT: The insurance provided by this policy is in retam for the sppiication and premiums
paid as required in the policy. The policy and a copy of auy written application, ineluding any written
supplemental applications together make up the catise policy contract. All agreements related to the policy
nmust be on official forms signed by the President or Secretary of the Company. We will not be bound by any
promise or representation made by any sgent or other persons.

APPLICATION: All statements in an application are considered represcaiations and not warranties. In
issuing this policy, wo bsve relied on the statements made in the application to be une and complete. No such
statemcat will be used to void ths policy or deny a claim unteas thet statement is a material misrepresentation.

re DUPLICATE

Life 4608

0305
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2099 Filed 07/28/14 Page 8 of 26

SUICIDE: Suicide of the Insured, while sane or insane, within two years after the Policy Date, is not covered
by this policy. In that ovent, this policy will end and the only amount payable will be the rem of any paid

premiums to the Beneficiary.
INCONTESTABILITY: After this policy fas been in force during the lifetime of the Insured for two years
from the Policy Date, we will-not contest it for any reason except nonpayment of premiums, After any
endorsement or rider has been in force 8s part of the policy during the lifetime of the Insured for bvo years, we
will not cantest it for avy reason except nonpayment of premium.

ERROR IN AGE OR SEX: If the age or sex of an Insured has been misstated, all payments and benefits
under the policy will be those which the premiums paid would have purchased st the Insured's correct age or

SOX.
ASSIGNMENT: The Owner may assign all sights under this poticy. We will not be bound by the assignment
until written notice is received, accepted, and recorded at oor Home Office. Assignment will be subject to any
amounts owed to us before the assignment wes recorded, We are vot responsible for the validity of any
assignment. .
NON-PARTICIPATION: This policy docs not pasifcipate in our earnings or suplus, This policy docs not
cam dividends.
DEATH BENEFIT PROVISION

We will pay the Death Beacfit to the Beneficiary when we receivo satisfactory proof that the death of the
Insured oceorred while this policy was in force. The part of any prenilam péid past the policy month of death
will be added to the amount paid on death. Any amounts owed to us under the Premium Payment Provisions

will be deducted from the amount paid on death.
OWNER AND BENEFICIARY PROVISIONS

OWNERSHIP: The Owner has all rights under the policy daring ths lifctinss of the Insured, unless otherwise
provided. If the Owner dies before the Insured, the Owner's estate becomes Owner of the policy, unicss the
Owner has provided otherwise.

The Owner may name a Contingent Owner or a new Owner at any time during the lifetime of the Insured.
Any ocw designation of an Owner wili automatically revoke sny existing designation, Any request for change
must be made in writing and recorded at our Home Office. It is effoctive as of the dato the written request is
signed. It will not apply to any payment made or action taken by us before it was recorded.

BENEFICIARY: The Beneficiary and Contingeat Beneficiary on tho Policy Date are named in the
application. More than ons Beneficiary or Contingent Beneficiary may be named. if more than one
Beneficiary is designated when the Death Benefit becomes paysbla, payment to the survivors will be made in
eqqual shares, or in full to tho last survivor, unless some other distribution of proceeds is provided.

If any Beneficisry dies or ceases,io exist beforo the Death Benefit bocontcs peyeble, that Beneficiary’s interest
will be paid to any surviving Beneficiaries or Contingent Beneficisries according to their respective interests,
unless you have specified otberwise. If no Bencficlary is living or in cxistence when the Desth Benefit
becomes payable, we will consider you or your estate to be the Beneficiary.

Life 4608. Page 4

0306
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2100 Filed 07/28/14 Page 9 of 26

CHANGE OF BENEFICIARY: While the Insured is living, you may change any Beneliciary or Contingent
Beneficiary. Amy change must be in a written form satisfctory to us and recosded at our Home Office. Once
cccorded, whether or not the Insured is then alive, the change will take effect as of the date you signed it It
will not affect any payment made or ection taken by us before it was recorded. We may require that you send

us your policy for endorsement before making a change.

PREMIUM PAYMENT PROVISIONS

Premiums are payable for the term of the policy or until the prior death of the Insured, The full premium is
payable in advance, and must be paid when dus to avoid loss of coverage of reduced benefits. Premiums are
paysble at our Home Office or to our suthosized representative. The authorized representative will secept

Fremiuns and provide an official Company receipt signed by the President or Secretary and countessigned by

representative, ‘The first premium is due on the Policy Date shown on page 2. After that, premiums are due

once a year, or every six months, or every three months, ar ence 2 month, depending vpoa the frequency of

payment chosen by the Owner.

All future premiums are guaranteed. You may change the frequency of future premium payments by written

request. The change nmst conform to premium payment rules we have in effect at that time, .

PREMIUM CHANGES: All premiums are guaranteed at insus as stated in the policy data pages, Tho
premiums are level for the period shown on the policy data pages. After the level postion of the policy, the
premfums are based on an Attained Age scale and increaso every year to age 95.

GRACE PERIOD: if sny premium after the first onc is not paid when dus, a period of 31 days from the die
date of the unpaid preminm will bs allowed for payment. ‘The policy will continus in force during this 31 day
petiod. However, if the losured dies during this 3! day period, any unpaid premium will be deducted from the
Death Benefit. In. no event will preminms be charged past the policy month of death. This policy wil} lapso,
without value, if premiums ste not paid.
REINSTATEMENT: If this policy lapses prior to the exp
in writing within five years after the date the first unpaid premium
erdue premiums must bo paid with 6% compound interest.

insurebility that is acceptable to us. All ov
Compounding interest is added to the amount owed and begins io bear interest itself during the following year.

CONVERSION

This policy msy be converted to a level premium, level bencdit, permanent plan of whole Iife or endowment
insurence which fs cusrently being offered by Nationwide. Subject to the Company's approval, the conversios

may also be made to certain non-lovel premium, penmrment lifo insurance policies. Conversion msy be at apy
Um prior to the end of the conversion period, as stated oa the policy data pages. The following will apply:
1. This policy must be in force.
Conversion nrost be spplied for in writing.
Tho Insured’s Attained Ago must be less than 75.
Evidence of jnsurability is not needed.
The face amount of the new policy may be for an amount up to the face zmount of this policy at the
time the request for conversion is made, but not Jess than our published minimum for the plan

selected.

i date, you may reinstate it, You prust apply
wes due, We must also have evidence of

veep

Life 4608 Page 5

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2101 Filed 07/28/14 Page 10 of 26

6. The new policy must be for a plan of insurance we are issuing on the dete of conversion.

7. Premiums for the converted policy will not be waived because of any existing disability at the time of
conversion.

8. Supplemental benefits cannot be added without evidence of insurability and consent of the Company.

The Policy Date of the new policy will bo the date of conversion. The premium for tho new policy will be
based oa tha same class of risk az this policy and the Altained Ago of the Insured on the date of conversion.

The contestable and suicide periods in the new policy will start on the Policy Date of this policy.

POLICY SETTLEMENT

Policy settlement means payment of the Death Benefit when the Insured dies,

Policy settlement may be paid in a inmp sum, Options for other methods of settlement are also available. Onc
settlement option or a combination of options may be chosen. A settlement option other than Jomp sum may
be chosen only if the total amount placed under the option is at least $2,000.00 and each payment is at least
$20.00,

While this policy is in force, the Owner may choose, revoke or change setilement options at any time. If no
setUement option has been chosen before the Insured has died, the Beneficiary may choose one. If no other
scitiement option hes been chosen, payment will be made in a Jump sun.

Settlement options must be chosen, revoked or changed by proper written request. After an option, revocation,
or change is recorded at our Home Office, it will become effective as of the date it was requested. We may
require proof of ago of any person to be paid under a soitiement option. Any change of Beneficiary will
automatically revoke any scttlement option that Js in effect.

At the time of policy settlement under any settlement option other than ump sum, we will issue a setilement
contract in exchange for the policy. The cffective date of the settlement contract will be the date the Insured
died.

Setticment option payments are not assignable, To the extent allowed by law, settlement option payments are
not subject io the claims of creditors or to Jegal process.

Options 1, 2, 4 and the gunrantced period of Option 3, provide for payment of interest at tho sate of 2-1/2% per
year. We will determine once a year any interest to be paid in exccss of the rate of 2-1/2%.

OPTIONS

1. INTEREST INCOME: Any amount payable under this option may be loft with us and will receive
interest of at least 2-1/2% annually. This interest may be cither left to accumulate or it may.be paid st the end
of every 12, 6, 3, or 1 month interval from the effective date of the settlement contract. Upon receipt of proper

written request, the amount Jeft with us may be withdrawn.

2. INCOME FOR A FIXED PERIOD: Any amount payable under this option will be paid over the
nomber of years selected, The emouat psyable monthly for each $1,000 left with us will be at least as much as

the amount shown jn the Option 2 Table. If chosen, payments will be made at the beginning of cach [2, 6, 3,
or | month interval, starting with the effective date of the settlement contract. Each psyment includes 8 portion

of the amount lei with us and interest, Upon receipt of proper written request, the amount left with us may be
withdrawn.

tease Paes DUPLICATE

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2102 Filed 07/28/14 Page 11 of 26

3, LIFE INCOME WITH PAYMENTS GUARANTEED: Any amount payable under this option will
be paid during the named payce’s Hifetime. A guaranteed period of 10, 15, of 20 years may be selected.
Payments will continue to the end of this period cven if the psyce dies. The amount payable monthly for cach
$1,000 le 8 with us is shown in the Option 3 Table. If chosen, payments will be made at the beginning of exch
12, 6, 3, or ] month interval stesting with the effective date of the settlement contract. Amounts left with us

under this option may not be withdrawa.

4. FIXED INCOME FOR VARYING PERIODS: Any amount payable under this option will be paid in
a fixed amount until the amount left under this option, and interest, hes been paid. The total amount payable
cach year may not be less than 5% of the amount left under this option. Interest paid under this option will be
at the rate of at least 2-1/2% compounded anmmally, If chosen, payments will be made at the beginning of cach
12, 6,3, or} month interval, starting with the effective dats of the seitfement contract. Upon receipt of proper
written request, the amount Jeft with us may be withdrawn.

5. JOINT AND SURVIVOR LIFE INCOME: Any amount payable under this option will bo paid and
continued during the lifetimes of the named payces, 28 Jong as cither payce is living. Upon request, the
Company will furnish information as to the monthly amounts payable for cach $1,000 of proceeds. (Life
Incoms amounts payable for other combinations of age and scx will be fumished on request.) If chosen,
paymenis will be made jointly at the beginning of each 12, 6, 3, or 1 month interval, starting with the effective
date of the settlement coniract. Amounts Jef with us under this eption may not be withdrawn.

6. LIFZ ANNUITY: Avy amount payable under this option will be paid during the lifetime of tho named
payce or the lifetimes of ths named payecs, The amoun! payable will be 102% of our current annuity purchase
rate on the effective date of the settlement contract. Annuity purchase rales ore subject to change. Upon
request, we will quot the amount currently payable under this sotllement option. If chosen, payments wil! be
made at the end of each 12, 6,3, or } month interval from the effective dale of the settientent contract.

Amounts left with us under this option may not be withdrawn.

Life 4608 Pags7

0309
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2103 Filed 07/28/14 Page 12 of 26

TABLES FOR SETTLEMENT OPTIONS

Monthly Instalfments for each $1,000 of Proceeds
Option 2 - Income for a Fixed Period

OPTION 2
Numobes of Years Amount of Each Numibes of Yearz Amount of Each
Specified Installment Specified Instaliment

1 $84.28 16 56.30

2 42.66 17 6.00

3 ig 5.3

4 21.86 19 5.49

5 17.70 20 5.27

6 14.93 23 5.08

7 2.95 2 4.90

8 11.47 23 4.74

9 1032 24 440

10 9.39 25 4.46

it 8.64! 26 434

12 8.02 27 4.22

13 TA9 28 4.22

14 7.03 29 4.02

15 6.64 ____30 3.93

‘Annval, semi-anmual or quarterly payments are 11.365, 5.969 and 2.994 respectively times the monthiy
installments,
Monthly Installmenis for each $1,000 of Proceeds
OPTION 3 Option 3- Life Income with Payments Gueraniced
REFER TO NEXT PAGE
Monthly Installments for each $1,000 of Proceeds
OPTION 5 Option 5- Joint & Survivor Life Ineoms
80 85 90 95 100

MIP 0 55 & 65 70 75
50 | $286 | $2.96 | $3.04 | $3.11 | $3.17 | $3.21 | $3.24 | 33.26 [| $3.28 | $3.29 | 33.29

55 | $292 | $3.04 | $3.15 | $3.26 { 53.35 | $3.43 | S3A8 | 53.52 | $3.55 §.53.56 | $3.57
$2.96 { S311 | $3.26 | $3.41 | 33.55 | $3.67 | $3.77 | 53.84 | $3.88 | $391 | $3.93
$335 | $3.55 | $3.75 | $3.94 | $4.10 [| $422 | $431 | $437 | $440
$3.67 | $3.94 | $4.21 | S447 | $4.68 | $4.85 | $4.96 | $5.03
75 | $3.04 | $3.24 | 53.48 | $3.77 | $4.20 | S447 | $4.85 | $5.20 | $5.50 | $5.72 | $5.86
80 | $3.05 } $3.26 | $3.52 | $3.84 | $4.22 | $4.68 | $5.20 | $5.73 | $622 | 5663 | $6.52
85 | $3.06 | $3.28 | $3.55 | $3.88 | $432 | $4.85 | $5.50 | $622 | $6.98 | $7.67 | 358.22
90 | $3.07 | $3.29 | 53.56 | $3.93 | $4.37 [| $4.56 | 35.72 | $6.63 | $7.67 | 53.73 | 59.68
$3.07 | $3.29 | $3.57 | 33.93 | $4.40 | 55.03 | $5.86 | $6.92 | $822 | $9.68 {| $11.16
$3.30 | $3.58 | 53.94 | $4.42 | $5.07 | $5.96 | $7.12 | $8.62 | $10.46 | $12.49

Life 4608 Page 8

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2104 Filed 07/28/14 Page 13 of 26

Monthly Installments for each $1,000 of Proceeds

: OPTION 3 Option 3 - Life Income with Payments Guaranteed
Guaranteed Period | Age of P Guaranteed Period
Ageo Payes Guaranteed Feiod” | Age ol Payee af Age cl ayes mead
| Male | 10 | 20 | Male} wT | Male | e| 10 20

SHAR
3
£3
%
£
&
&

S
3
8
8
E
§
&
3
&
E
Buses

34 39 | $2.73 | $2.73 | $2.72 | 64 69 $427) $4. .
95 & | 100 &
overs | over | 38.94 | 36.6] | 35.27

ifthe income pa for a specific pnarantoed period i equal to that for other gaarantec periods the Jonger period will be

Life 4608 Page9 DUPLICATE

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2105 Filed 07/28/14 Page 14 of 26

THIS PAGE INTENTIONALLY LEFT BLANK

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2106 Filed 07/28/14 Page 15 of 26

7

NATIONWIDE LIFE INSURANCE COMPANY

ENDORSEMENTS (Endorsements may be made only by the Company at the Home Office)

Life 4608

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2107 Filed 07/28/14 Page 16 of 26

aT me

L TRA oe

i. Kap yousand ard une sand Ege o: ° a Fog n Sappiecanal TP a ma
* t i _- J. gsm: ef. | foe) eae WRG. : "ADP
: BT:

“T& SE PROPOSED INSURED ADOMOHAL INFORMATION: #
a _ Raden Stet Asdress frnckide aly site a0 2p cook):

e “Faroese Taos TE Capo It ie
ai 1 Cay i etd Sas

a :
Bs Can youresd end enderttand Expiry: | 2. us hip ies Sobens Foret Suppiemant} ¥- Fa lang have yoobeentn GUS?
: oO: Z 5 . oo :
te teticebats |i Toephoce aoneay a. belie bow.
tT AuipM. {| ft oF AMIE:
OWNER: (18 Phi ional Rezurods fs cate cl Scxvivoratep) wall Own Sho pobey ives ricaled hase: ihe Owner is a Trust compete: |

“& OWNER; (he Prinary inna
> { b: Socal Sac Heber or Hix

3 Comyy: i? Retitonshe lo hauedy: Tr Telephone Hunber- 9. Dee ol iesr-

anid a, Olfshen dor | OF
1 « Wegkt x Sthd beh: .

1 tral
- _ TRUSTY CURRENT TRUSTEETS). DATE OF TRUST

{2 coiecer ore — P ET

C  Ressderice Skeet Address fnolels cy, siae sod np code)
rd County * Rattensize fo inruradie} |' Telephone Number:

i> Dota of Gest

(3272002)

1

Lament Poge 5
:

DUPLICATE

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2108 Filed 07/28/14 Page 17 of 26

& ~ Pn aT TA DOSNT ST IT AT
__GoTt! {OQ _- a

-Gadindcae cae cob. Ee
o> latlyremam Depost t Phased Peis (Onset par sexi} te —
i (padi appicolon}: _ Oh: Sagie Prema: DB SemeAntual: § $- .
Bega fh Oe Anan: i_—_———_ SP Ounelys  SOT FHF
5__MD.00__ |. 11 tpeniy EFT (comptes PATTY. a “. S
"FOR DIGIVIDUAL VARIAGLE UNIVERSAL FE PLAN ONLY: for avedatally J:

Fg. Death Berwlt Opten (¥ no options saltciod baew. Option 13 ekcied):-
eo: Coir {The Specaied Aracend or a cuotigle of the Cash Vaiow- whichever is preaiar}..
: 2: Gree eocued houat pia pa Cath Visor mpc ol he Cut Valen cichavoia var:
D. ples 3. (The Spented Amour, plus the Premum Accurutabon 33: ‘amend bieveah ora cathe ol tha Cash Vetus: vlachavar greater)
be Tier Raven Co ia Esace Oeatan Ts (a0 snd a hrs Core asainicas Vata Cai Tosi cco)

FoR SURAVORSTIP LFEPLAN OLY [Check plas lor sveciotelty )
Doath Benes Opson fino option [s selotied Bere, Option: # is plected}.-
- * €)- Optisa-t. it Spocdedoraead are auieistd a Cas ies ncn gaat:
“+ (a: Optoa2: (The Spented Amount. ps ie Cosa Vue. cr sil ibe Coa Yate vochove 3 gral) :
(1. Opson 3: (Tike Specie Ameunl- ples be Prenthes Accursstsfcn at: "bladesest of 9 ulliple of the Cash Valve, whichever ts greates:}: |

tk Lat Revenue Code ie fncraice Quevcatos Text (0 scion 67m bre Guo Pemibevcesh Valve Conior eat a eeclad).
: ke Rervicrnatens ‘Te

i ee oe Re : Lo :
Ch Advesied Sales Load dar o way Eamon Exdinennet ht Spt Arvo:
Mrs oon percastagea cri) etved t_ yrs: a Pobey Spid Opbon Fader::-

C1 Ente Proterbon Poder $2. Oner Redasish—_

FORURNEISAL LE POIOY™ (Check pion for guava bility}:

ma: Dest Benedt Opts (ne ophonis xelecied here Opbert 12 elacitd):

- OG. Opbont. Cie Spend Aroers.of omadiote of Be Aecerniaied Veto whicvey ws ester)
(1, Option ?._{The Specified Amgyet- pis the Accunulated Vale, oF 8 10 Ihe Accurelsied Valve

Bee: tpivea Benin

-: ) Attrdental Dash - Anourd $ 0) Matunty Extenpon Endortacsent for Spentied Amount.
O. Chid Rider $.. O. Spouse Redes $-
C2 Guaranteed Opto fo increate Speoled Arad $l, O Wererel Monthly Deducton Foder-.

. ©: Lepme Pentecton Roser: 0).. Oder

FOR WHOLE UFE PLAN ONLY | (Coect pian for ovadkabaly}

p Opbonel Banelll Fiders-
©. 10 YearSpouse fodar 5. OC) Guopantesd insurabaty = Amouns 3;
GC. 20 Year Spovse Fuser $_. 1 One's Desth (Complete Par 8, 14 for Onner}.
1) Avextonted Desh. Amaunt § C1 Owner's Senih ar Ditebity (Complete Pert B, B14 tor Orman).
CO Celt Rader $. 0 Wewer of Premium Banal:

I 1) Excess Creat Opeen, CO  Otror Raderts}-

FOR TEAM LOE PLAN ONLY if tralebaty }
FOR TERM LTE PLAN ONLY (Check pian iy er = :

4 = Opbonst Barelt’
: £7: 18 Year Spouse Foder $. O Chater $
, Ol 2 Yeas Spouse Rader $ CO Waser ol Premurn Baca
1D Otier Reseris) ee ‘
. Angee Page2
! t
‘ .

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2109 Filed 07/28/14 Page 18 of 26

. 001785710003

7. ELECTRONIC FUNDS TRANSFER AUTHORZATION

Tenn [Pesan etn Phone Raber
Financial insiauton Address
eanerioest [Dae [Soap ahs edi Seeamcenactetaareae

rambes 20
By pronding fag Snandal nsthiboe aame ard sccounl miomaton, VReceby exthoeze Nstorsede Le Insicanca Companytiaboonde Lio bad Ancisty
Insurance Company tontate debd entoes lo my chectingltaengs account Indecsted above end the Fanancal Incthdioe to deb he same such account
73, # egcessey Whee more Con

TRUST TAX
EXACT NAME OF TRUST (0 NUMBER CURRENT TRUSTEE{S) DATE OF TRUST
9. PAYOR. (if samacoa other Ux20 ihe onthe Onver 03 lo be béied lor Bra forties }
a. Nama (Faxd, All, Lest) :

t
ent
10, INSURANCE INFORMATION
a Wi any lle Inzeence oF tor Ik's or any cctes company be reptared, discontinued, reduced or changed Wf meusance now applied for 13
wssuedty = Yes Ho fit yea, plesse complele appeopenie replacement Uf tra 1 on kiseaol Revenue Code Secbon 1035

penne chath above and atiach 1035 fores. Eton mv lect Yara Cerner tod x ar koe Onn of Bats poy FY?

t 00 [Dy have any (ie Insuraece ce Atreskes 1 force’? Yes 0 No _{tiyox pense dctbalow
Se a emwy | fet | woo [| aL | NW TOaE
PERSON | _COMPANY | _wauupen_ | NIM _ogama | cowvensiow |_neptacen_| ‘®
OQ __\tive Gio] O
Z np’ {a ves We fo
] B_ [ive tHe | O_
{ O_o ves On} Oo |
Zz hoe ome |
oO loyve gt 1a
Q 8 0
c isany person liers proposed los coverage now applyng for Lsfs ineisance or Annubes wih any othe company? O Yes io

Pf yes, please pronde name of company, mount epphed lor end perpore af coversgir),
t

Line-2t Pega 3

DUPLICATE.

Tore
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2110 Filed 07/28/14 Page 19 of 26

EET Se ay

” a TT ik. PERSONAL INFORMATION >

1 aie tse tf

WMT.

PART

- AMF quastiond arn to be a d by sach:Proposed-insured:. For each: yes answer, provide.]: PROPOSED £:

s Hive you ever Tay apghaoon as Ui os ea ora Jr le OSM ETO
Heoth nsotance) decined: - saled-up of rated?” Grats}.

B Hove you eves appbed los or rocesred dsabally payments fot any dines ot meusy? (yes,
pronde details }
a tn the past 3 years have you engaged m, oF do yourntond fo engage m. on.

_ bs wlced cr elaccaie tt Deen conned be past) yeas ol ate a aoe meen

Pesuessamn of cocea or Sy oes rassotter eg dg? (yes, complete Deg:

é Flava you ever bad ypu Goveis Kcenae svipecded ct rewed Beta Conntied ol dap Dato oT. a

@ Except as prescnned bya phynccan, have you eves used; of been ecmncted for sale or- - ao af a: a. oO. aT

“Wag. Tare\ Seda Feuwk: Nemate-

, Reoy: Civk Mitun“oy-o3ce 95 «2. -- Sdlbd..

PROPOSED INSURED::
[ave You one tbptco ox Scots many fare Bela S yearn D Yes: No. . . Oko
yes, specily the lems of lobacto or coins prodxty used O° dgareties:. o pee: DO. opa 2 chesnng becca CJ. saci:

POUSE PROPOSED INSURED:

b

BD. Og |"
: Oo: oO ~ fe
he Doyen beet teste Did or Conada?. (yes, compinis: oa oO. - ff * a “a.
i Doves oer jm any ive etn wy ral aba? ie [OS a a [oo @.
; Do you have a parent oF sit teig Hho ced fom Contes of cardiovascular disease prox ape GU | ro @ | O° ao m7 Ff
flyes, roe elacoaite to Prapased ined oe at dost od cause of eat, aod : 0
i tnehe seer eae EE Wi rT é Jan acai J bien als be altached);.-

Have you tae ecco or cae nay orn tet yea O Ves. Ne. Last 82 momhs?? OF Yes - F No-
Hype ian nol hace pci O ecpsretes. O ppe O og. 0 chaweng’ . O self.
ET other lobseco. 0) ewoine prodecty (oom patty
= ‘FAVSCM, NEASREMENTS'T ‘
ress HEGHT “| _ REASON FOR WEIGHT GAIN OR LOSS:
| Name 03 Personal Phypowe: | sater_C
Aédva3s- Alles Gb Wer owe Toon
= 1
LTeepbong Humbe =. we “
| Reasen Sal conmted om:
ere | readin lrg

Lannea. * Poet.

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2111 Filed 07/28/14 Page 20 of 26

_ eT

PORTS ERY
.

_F al'gosttone to ts be masa erage a Faro eae ccs Toren
spopdae en sad ploide dele oI . seme tw . .
To the bext-ef your knoniedge and bebel; as anyone pioponed: sisqreccs' consulted @: E.
cnn i ie Real pesmi, bps ih, con ben agen .
pnaving: 3
a- AS rd bens Ci Sao css psi re ao ae

s° Ta chang heptobe gas asda patios pesmi :
of beeath, palpstabons, hes mes, plete, Ge ary other. desorder of the het or ttood:
| _vossels7y

ra. Hesdeches, sacuees, epeepsy,: Ska, Rabesoers Gsxese, Parkins ara, cp:

tc Ea ‘ fs
oe act?
re
GQ Suge, protn

disnssa or asceder of tro Satnays, Hades, proetae,bevash trina tac} or rap

Care ayer bans oe an Cie som heaeohen
ptends?.
F Degas, msl webs eseepses: fey Pars few se

| app Minacdpenide dandeasiie Ces
Tee tt talent anne hh pin fe

: L-4736-21 ; Pages

Go
ne
Co
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2112 Filed 07/28/14 Page 21 of 26

| . 001785 710008

—

PARTC .
18,_TAXPAYER IDENTIFICATION NUUBER

ORT E TS TES

wihhetdea 2 .
| $9, SPECIAL INSTRUCTIONS {il mapa space zs neoded, an addtional Nark shee! may be attached)

!

L482, Page 8

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2113 Filed 07/28/14 Page 22 of 26

APR 26 °94 17258 PR THE REICH AGENCY «8-248 203 9089 TD 16146776189 P.G2/82

AMEND.
OB APPLICATION FOR INSURANCE TO
NATIONWIDE LINZ INSURANCE COMPANY
COLUMBUS, OHIO 43215

Theceby smend my application fhe insurmse tothe Natlocrsige Life Innurance Company op the
1ifo of Gary Lamiloff dated November 11, 2003 as follows:

Ths policy was Sssued with Nom-Tobscco rates,

hereby agree that thess changes shall be an amendment to and form a part of the ariginal
selieton and of the potcy isseed lseretader, ny.

Signed at Pine ¢ MI m__<t1z _,_2e0¢

MUNTE, DAY

RETURN ORIGINAL SIGNED COPY TO NATIONWIDE

DUPLICATE

Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2114 Filed 07/28/14 Page 23 of 26

Msa To: SA Nationwide Life Insurance Company
C1 Nationwide Lite and Annuity Insurance Company MEDICAL EXAMINATION
1 Ufe Underwriting OC COLIBOLI, 1-11-08 £1 Group (Part 2 af an application to
P.O. Bex 182835 One Nationwide Plaza P.O. Box 8028 Notomede insurance
Columbus, OH 43218-2835 | Columbus, OH 43215-2220 | Dubin, OH 43016-9902 for Life or Heath bsurance)
sues 1-866-G78-LIFE (5433)
insured Social No. Date of Beth
Name of ee Oe ES RGS\

Physicians: include primary care and speciatists and data fast consutled. (if more than two physiciens, indicate 90 under “dsteia")
De. Witcher C- Gener Name

indication evaluated, diagnosed, or treated by a medical DETASLS of yee sntware, identity
eecwoedion of been “ ” Yea No guosdon number. Cisco applicable Ans.
ta. Henri disease, Inducing heart attack, enging or chest pain, shortness of breaih, cardiomyonadiy, incude Cognos ’)
manner, of valvular disease, conganital heart defect, or medical provider(s} consued.
ee nate Mat nen haart deeoee, o of | poe 21st cared)
0

b.  mequisr heert beat, pelptiations, high blond pressure, high cholesterol, or high frigtycerides?..
¢. Nearl cathetatizaiion, abnormal elecirocanilogram, os other cardiac feet, coronary bypass ¥
Surgery, OF o

dissase, venous thrombesia, phiebille, peripheral vascular
> AOE a a oro e ioes vessel, of pumonary emboban? sasqeeevanscannesennsneests oOo of
3a. Disbales or abnormal Mood sugar?. ow
“be Thyroid, adrenal, patairyrold, pitultary, or other glandular disorder? senvcovterrovareseccrsatssanssecenest Oo a
4s, Cancer, lukamia, lymphoma or any maiignant or benign Lumor, cyst, OF POLYPS? o-messrernsesee: 0
b. Any abnonmell scresting tests for cancer induding PSA (prostais specilic angen), o x

mamunogram, or PAP smears?

5 AIDS (Acquired Immune Deficiency Syndrome), or received positive. resulta of an HIV (Human x
immanodelicency Virus) tes using tha ELISA-CLISA-Westom Biol Tesiing Sequance?.......- Qo

8, Disorder of tha blood including anemia, side cel disorders, thalassemia, hemophilia, or any xX
other disorder of the red blood cals, plalsiels, ar clotting faciors?. a

8s. Asthma, emphysema (COPD), tuberculosis, of chronic bronchitia? —. ———enreesenserernreeereteeteet
b. Persistent hoarseness or cough, an abnormal cheal X-ray or other lung dlasase or tlsorder? ..
$9. Ulcer, IntesSnad bleeding, ulcerative colts, Crohn's disessa, diverticulés, hermia, of any other

Olaorder of the esophagus, siomach, or intestines ’?.
b. Jaundica, cirthosis, hepaiiits, or any discane of Bhe Iver, pancreas or gol biscdar? ............0
10a. Sugar, protein, or blood in tha urine, kidney sione, glomensionephridis, or history of

nephrectomy?.
b. Cfhes disorders of the Keney, bladder, ureter, urethra, or any part of the urinary system? ......
ita. Reproductive system inducing uterine fibzoids, endomerriosis, or averian cysViumor? ... epeereee
b. Prostate enlaryement, prosteia cancer, lextioular mans, or sexually transmitied disesees? .....
c. Other disorder of fhe reproductive orpans os breasts? -
12. Disorder of the mrscies, joints, bones, landona, Iigansenis, soft Ssevee, spine or back inducing
arthetis, fracture, cvonic pain, of hemiated disc, chronic faligue symdrome, oF fibromyaiga?...
13. Disease of eyes, cars, nosa, or troat?
4a. P ical or psychiatric disardars inchating depression, bipolar disorier, obsesahe
disorder, or any other mental os behavioral disorder or disease?
b. Alooholism, drug. dependency.or addiction? ne
15. Any other mental or physical disease or disorder not sted above?

=" MA
BANG

Re

00 an0

RAR OS, RR EK

~

oo ooao0n00

gas, A

nog

Page 1 (04/2002)
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2115 Filed 07/28/14 Page 24 of 26

Nationwide Life insurance Company MEDICAL EXAMINATION

Natlonudde Life and insurance Com (Pet 2 (continued) of an to Nationwide Insurance for Lite or Heeth insurance)
Have you in the past 16 years: Yes No :
16a. 8¢ena patent (inducing oulpatien() in a hospiis!, clinic, mental health faciity, or other

macy og
b. Consulted or been referred lo any physician not sted above? a
c. Been advised to hava surary, hospitaiizalion, testing, or treatment thet was notcompleted?.. C1 of
17a, Used tobacco? if yes, speciiy dates and form of fobacen used) od
b. Used alchotc beverages? (yes, how mach, what ind [beer nine, Bquor, how oftin?).... Mf DI foccranxana\-secral
c. Used any itegal, resticted, o controlled substance except as presaribed by a physician? (if yes,

provide details bo of
18. Requasied or received a pension, benafis, ar payment because of injury, scinesa or deabilly?...... ow

ADDITIONAL SPACE FOR DETAILS OF YES ANSWERS. (idantily quastinn number.)

1 Health Conceme Brother : Health Concoms
8 Living Cause of Death Aare | oe Sater? | Ua Couss of Death” a
Faber 1 Y Le ieenra AR x
YN
Mother (|) N TH

Other family mambera with clabetes, hearl dssase, cancer, Kidney disease or other inheritable conditions?.

Al the statements and answers on this form ane complele and true lo the bes! of my knowledge and bellef, whether witien by my own hand or not and |
ages that hey are lo be the basis for any insurance iseved hereon. | authorize: any Ecensed physician or medical prectiionor, ary hospital, diinic or other
eats te one eure

knowedge of ra (x of ary 9 he .

QO?
ew
NS
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2116 Filed 07/28/14 Page 25 of 26

) . 004785 718007

20, AGREEMENT, AUTHORIZATIONANOSIGHATURES
J have read Drs appicaben. tundarstand eschod he questions AN of the answars sad stotements.cn ths fora are conpisia andirye bp the best cf roy
frowledge and bebal londorstand and agres Gat

A Thes appicaton, any arendesenis to &, ond any related mecteal exammnabees wil become a part of the Pobcy and are the desis of acy insurance
rssued upon his appbcation

Nomeddes! exumner, produces or other sepresentatve of NaSorce oxey accept risks or make or change aay contract, or waive or change any of

the Company's nghts orrequeersants
Othe Aud frst premarn payments eace m exchange for a Tesnporesy Josurance Receipt, Nelioneade wil only be heble fo the extant sat fart n tial

recegt
Ii the full fest promiura {s not paid with this apptication, then insurance wil only tpke effect when al] of the folowing condibons ane met:
1.  Pobry is issued by Nationwide and |s accepted by me; and

2, the fulfisst pressium is pakd, and
L al the answers and atatamect mae on the spplcation, asics examinatfonge) and arezndisats conte tobe nce tothe best of
any knowelacige ond belted,
“The zpshcant bos 2 oft canes tes applcsbon a any tive by centacteg thar agest or Neborwede wo wing Vhave received the pre-notice fora ol
he Fes Ceedé Reporing act of 1979 and The Madkcel Inforesbon Bresy disclose form, 1 cestfy Dut the Soca} Secunty Nimober geren fs conedt and

complete

{ authorize any icensed phyneen or mecca! pracktensr, sny hespial, chrac, pharmacy or other medical oy meckeedy selaied foolty; any nswanca
company, fre Mecca inicematon Bums, oF any other oepemizadon, exshiudas of parecn who hes lacniadge of me, lo gore thet mnfonntbos 10 the
Medal Oxectos of tha Notonmde Lite Insurance Compan) Nsbonmde Life and Annuity Insursnce Company, of ifs reinsurers, for the purpose of
undetwrcing my spplication nn order to delarming elpinity for Lie lazurance and lo vwashpete clases By my siqnakee below, | ocknowiadge that any
ngresiments } hava msde to resinct cay prolocted health sniormation do nel appiy io thes authonzahore and | Inckuct any piysscan, heath cate
profesnonal hota cine. maeal inci, o¢ obs beskl Kare promder lo release end dstiese ny entire seedieal record without resincton {
underaland that any whaanalion Bist ls acd pvt lr trenton my ba doc bd nb coved by dre og
ofhasth informson. Ths aunt oF © CoPT 21 & wid be ak ko 3 pana obnot ve than two-znd ne tal yeos (30

B.
c
a

povacy and conidantaly:
bom the date Hwss -bundassiind thai | have the nght to revoke tes eulhonzahon a eeadng 8 wollen request for
man Ce nan es meseng, loys onytne, by von

fasurance
Colombws, Obie 43213-2335, i undertond Pat tomesbon moot etlacir lo Be exten hel ry ory secvdees hove eebod on a outrcalanc ore

the extant that Hxaommde Life Insursnce CompaniNstorede Lie and Anouily lnsazance Company has a legal nght fo contest a dane under an
insurance pobty of fo conles! the policy tsell, P Aabiey vodassiand Goat toe fo oon fxs auerzabon Wo miease my compiete medkex! moods,

ebacieednptltentaors ot haves gia toa cope celia scone rg enero hy pe that my

eguta__Totewtalinen, Midkesagan ot __ Gch 220%

‘ MortDay ” Yosr !
Ihave buy sad scourstey recorded afl Preposad Innsed) answers on

Shea aaperatan ead have winossed hahienthes sagnatuce(s) hereon .
To ta best of my nowdedge, tha nswance spied for 03 wil Oh wal we Neacene | sage __

(CHECK ONE) replace any Be msurance, andlor anranty

ZZ JE. Name of JolwSpoose Proposed inanted (pease prad)

4 . YSo3 Sigagke of JonvSpouse Proposed insured (i ie be Insured)

Shipman of Apparat Owes (i ullaw nee Bie dussesl)

me ee :
, Signators ol Payor (¢ ether fran the hasired)

Ime; Page T

: DUPLICATE |

0323
Case 2:11-cv-12422-AC-MKM ECF No. 129-6, PagelD.2117 Filed 07/28/14

“SORT TEE ST DT

Life 4608

Sere

GUARANTEED TERM LIFE INSURANCE TO AGE 95 POLICY

Renewable once a yeas until age 95.

Convertible anytime prior ta the end of the conversion period, as stated on the policy data pages.
Premiums payable during lifetime of Insured prior to the end of the term of the policy.
Presaiums are guaranteed at issuc.
Non-Participating - No Dividends.

Page 26 of 26

9324
